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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Honorable Marcia S. Krieger

 Criminal Action No. 12-cr-00010-MSK

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 1.     GEORGE H. ASKEW,
 2.     ROMELL E. BULLOCK,
 3.     GREGORY A. COLLINS,
 4.     GEORGE A. GADDY,
 5.     DELBERT J. GARDNER,
 6.     RICHARD JOHNSON,
 7.     SHEPS H. KHAMSAHU,
 8.     ERIC LUGO,
 9.     LAWRENCE T. MARTIN,
 10.    JOHNIE A. MYERS,
 11.    DARELL R. PARKER,
 12.    CALVIN R. RILEY,
 13.    COREY L. RILEY,
 14.    THOMAS A. SCHRAH, JR.,
 15.    JAMES R. SWITZER, and
 16.    CLIFFORD M. WRIGHT,

                Defendants.


                                  ORDER ON PROCEDURES


        THIS MATTER comes before the Court sua sponte. It is the Court’s experience that

 multi-Defendant criminal cases often present unusual and significant administrative challenges

 for both counsel and the Court. In an attempt to preemptively alleviate some of those burdens,

 and to expressly advise counsel of procedures that the Court will follow,

        IT IS ORDERED that:

        (1)     All documents filed by any party in this case shall bear the complete case caption.
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 If a document pertains only to a particular Defendant or Defendants, the name of such Defendant

 or Defendants shall be in bold print on the caption. The caption is deemed amended and the

 name of a Defendant may be removed therefrom upon the sentencing of that Defendant.

        (2)     If a Defendant files a Notice of Disposition, that Defendant and his or her counsel

 are excused from participating in all subsequent hearings except for hearings which pertain to

 that Defendant, i.e., change of plea and sentencing hearings.

        (3)     If counsel for a Defendant is unable to attend a hearing, that Defendant may file a

 motion to allow substitute counsel to represent him or her at such hearing. Such motion must be

 accompanied by a statement that the Defendant consents to representation by substitute counsel

 at the particular hearing.

        (4)     Any Defendant who has not filed a Notice of Disposition shall attend all

 scheduled hearings (apart from change of plea or sentencing hearings for co-Defendants who

 have filed Notices of Disposition) with his or her counsel. If any Defendant or defense counsel

 desires to waive his or her appearance at any hearing, an appropriate motion shall be filed no

 later than 2 business days prior to the hearing.

        (5)     With regard to any Defendant who is not in custody, a motion seeking leave to

 allow the Defendant to travel shall be filed at least 5 business days before the requested travel

 date. No such motion will be granted unless the pre-trial supervision office is in agreement and

 either (a) the Government files written assent to the travel at least 2 business days before the

 requested travel date or (b) the motion is stipulated.

        (6)     If a Defendant wishes to adopt the arguments made in a co-Defendant’s motion,

 the Defendant should not file a “Motion to Join” in the co-Defendant’s motion. Instead, the

 Defendant should file a motion whose caption and body identifies the specific relief requested,
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 and which simply incorporates by reference the arguments raised by the co-Defendant’s motion

 (and identifies the motion being incorporated by docket number wherever possible).

 Alternatively, where it is possible for counsel to collaborate in drafting, a single motion seeking

 relief on behalf of multiple Defendants is helpful in minimizing docket sheet congestion.

        (7)     At any hearing on motions, counsel shall be responsible for monitoring the

 disposition of their own motions. Please note their docket numbers. If a motion is not addressed

 by the Court at the hearing, and counsel do not request a ruling on the motion, the motion may be

 deemed denied as abandoned. Note that the scheduled motions hearing is non-evidentiary.

 Where an evidentiary presentation is necessary to resolve a particular motion, the Court will

 specifically set a date for an evidentiary hearing in consultation with counsel.

        (8)     Please be aware of the Court’s specific procedures on the following points:

                (a)     Severance: Although the general motions deadline governs the filing of

 motions to sever, please be advised that, typically, the Court will not rule on motions seeking

 severance until the time of the Pretrial Conference, at which point the contours of the case to be

 tried have become clearer.

                (b)     James proffers: The Court does not typically conduct hearings on requests

 for James determinations of the admissibility of co-conspirator statements. When a James issue

 is raised, the Government is required to make a written proffer containing: (i) identification of

 the facts showing the existence, composition, scope, and object of the conspiracy; and (ii) a

 specific identification of each statement that is to be offered, its declarant, and an explanation as

 to how that statement is admissible under Fed. R. Evid. 801(d)(2). This proffer is made on a

 form available from the Courtroom Deputy. The form also includes a place for each Defendant

 to note those statements to which he or she objects and a place to state the nature of such
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 objection. Upon its review of a completed proffer, the Court will usually issue a written ruling

 either: (i) finding the proffer to be prima facie adequate to permit the admission of the co-

 conspirator testimony under Rule 801(d)(2), subject to the Government establishing the

 necessary foundational facts at trial; or (ii) finding that specific statements are inadmissible

 under Rule 801(d)(2).

                (c)      Rule 702 issues: A party’s disclosure of expert opinions under Fed. R.

 Crim. P. 16 shall sufficiently identify the foundational facts necessary to support the expert’s

 opinion under Fed. R. Evid. 702. Challenges to the foundation of a designated expert’s opinion

 on the grounds specified in Rule 702 must be made by a joint filing according to the procedure

 set forth at http://www.cod.uscourts.gov/Documents/Judges/MSK/

 msk_702procedures.pdf.

        DATED this 30th day of January , 2012.


                                                        BY THE COURT:




                                                        Marcia S. Krieger
                                                        United States District Judge
